            Case 5:22-cv-00711-SLP Document 1 Filed 08/18/22 Page 1 of 11



                       UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA
                           STATE OF OKLAHOMA

1. DAVID B. YOUNG,

                            Plaintiff,

V.                                                       Case No. CIV-22-711-SLP

1. UNIVERSITY OF CENTRAL
OKLAHOMA AND
2. STATE OF OKLAHOMA, es rel.
REGIONAL UNIVERSITY SYSTEM OF
OKLAHOMA,
                                                         JURY TRIAL DEMANDED
                            Defendants.

                              PLAINTIFF'S COMPLAINT

       COMES NOW the Plaintiff, David B. Young, by and through the undersigned legal

counsel and for his Complaint against the Defendant alleges and states as follows.

                              NATURE OF THE ACTION

       This is a cause of action based on Defendant's discrimination against the Plaintiff

based on the Plaintiffs race, gender, unequal pay, and the creation of an unlawful hostile

work environment and retaliation against the Plaintiff's protected activity.

                             JURISDICTION AND VENUE

       1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §451, §1321,

§ 1337, and § 1343. This action is authorized and instituted under Title 7, §703(a) and § 102

of the Civil Rights Act of 1991, and 42 U.S.C. § 198 1(a).

       2.      The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Western District of Oklahoma.

                                              I
           Case 5:22-cv-00711-SLP Document 1 Filed 08/18/22 Page 2 of 11



                                          PARTIES

      3.       The Plaintiff at all times herein is a citizen of the United States and a longtime

employee of the Defendant.

      4.       At all times herein Defendant University of Central Oklahoma employed the

Plaintiff and the Defendant Regional University System of Oklahoma carries statutory

responsibility for Defendant UCO.

                          ADMINISTRATIVE PROCEDURES

       5.      Previously Plaintiff David B. Young filed claims of unlawful employment

action based on subjecting Plaintiff to hostile work environment based on national origin

(African-American) and color (black) with the United States Equal Employment

Opportunity Commission, EEOC #564-2021-01578.

      6.       That on May 24, 2022 the EEOC granted Plaintiff Notice of Right to Sue

signed by David Davis, Acting District Director.

                            BACKGROUND INFORMATION

      7.      That following successful military service and federal employment Mr.

Young was hired by the Defendant on October 20, 2014. Mr. Young took the position of

Director of Procurement Service.

      8.      That under Plaintiffs leadership there were many improvements instituted

to include creation of expected turnaround times for various paperwork, implementation of

a Concur Process, new travel card, advanced imaging technology, more than at 25%

improvement of the P-Card rebates, negotiated contract savings in excess of $250,000.00,

assignment of buyer to distinctive departments on campus, added rebates from WFF and

                                               2
           Case 5:22-cv-00711-SLP Document 1 Filed 08/18/22 Page 3 of 11



ENI and Staples Office Supply and contracting for a new inhouse print service that is

inclusive of student campus mail.

      9.       In addition to his professional duties, Mr. Young was elected and served as

President of the UCO African-American Faculty and Staff Association and serves currently

as the immediate past President.

      10.      At all times herein Defendant UCO purported to operate an Inclusive

Community Response Team. The ICRT purports to operates to operate to fulfill a specific

purpose, to-wit:

      "The Inclusive Community Response Team (ICRT) works closely with
      leaders, offices and departments across campus to coordinate the
      University's response to incidents of bias, hate, and prejudice within the
      Central Community."

       11.     Plaintiff's immediate supervisor was Drew Duke who held the position of

Assistant Vice President of Administrative Services. Before making any formal complaint

to the Defendant Mr. Young advised Mr. Duke over the years of incidents of bias and

discrimination based on national origin, color (Black) and gender. Mr. Duke never

advanced those concerns to appropriate leadership and never pressed for any response and

never cured any of the ongoing discriminations. Mr. Young independently advised the

current President when she held the position of Vice President of Financial Services. IN

2015, a meeting was held addressing the same person "Lisa Harper". Mr. Young was

advised to assume the positive, but the Defendant accorded no relief to Mr. Young.

      12.      Therefore on May 27, 2021 Mr. Young filed an EEOC Formal Complaint

Form with the UCO Office of People and Culture. Mr. Young's basis of complaint was


                                             3
           Case 5:22-cv-00711-SLP Document 1 Filed 08/18/22 Page 4 of 11



race, gender, color, and other (equitable compensation). Mr. Young presented evidence of

discriminatory incidents that occurred from 2015 to 2021 that he experienced at UCO.

       13.     Defendant UCO assigned Mr. Young's complaint to an EEO Investigator

Mary Deter-Billings, Director of Employees Relation, Talent Acquisition and

Development and she conducted an in-person interview with Mr. Young on June 1, 2021.

She was advised that August 8, 2021 that she had completed her investigation and the

report had been given to a decision maker who worked in the UCO Office of Information

Technology, Sonya E. Watkins. Ms. Watkins issued her letter on August 20, 2021. Mr.

Young responded on August 22, 2021, and received the updated letter.

       14.     Plaintiff was never interviewed by Ms. Wathens. No request was made to

Plaintiff to provide any additional documentation or evidence. Defendant never advised

Plaintiff of the progress of the investigation.

       15.     That on August 20, 2021 the Manager, Employee Relations Human

Resources at UCO emailed Mr. Young as follows, to-wit:

       "The investigation has concluded and the decision maker has made a decision
       in regards to your EEO complain [sic] regarding harassment, workplace
       bullying, and pay inequity on the basis of race, color and/or sex. Attached is
       the closure letter with the results of the findings by the decision maker."

       16.     The "closure letter" was dated August 16, 2021 and notified Mr. Young of

"the outcome of the University of Central Oklahoma's investigation." The letter advised

as follows in pertinent part, to-wit:

       •       "While there is evidence of a pattern of circumventing your
               involvement, input and authority as Director of Procurement, the
               evidence does not support that these behaviors are occurring on the
               basis of race, color, and/or sex.
                                              4
           Case 5:22-cv-00711-SLP Document 1 Filed 08/18/22 Page 5 of 11




      .        While there is evidence that sufficient action was not taken on your
               behalf to stop the behavior, the evidence does not support that this was
               done on the basis of race, color, and/or sex.

               After an evaluation of point factor analysis and benchmarks by leaders
               of Finance and Operations along with Compensation, it has been
               concluded that your current compensation is consistent with the
               average market rates paid within the division.

       .       Actions have been issued in order to remedy the effects of
               discrimination and/or harassment determined to have occurred."
               (Emphasis added).

       17.     The letter provided further a list of "non-adverse employment action

remedies have been recommended" for Drew Duke and for Lisa Harper. Those

recommendations were specifically enumerated in the UCO letter for Mr. Duke and Ms.

Harper, respectively.

       18.     Thereafter, on August 22, 2021 Mr. Young emailed his written response to

Ms. Watkins.

       19.     On August 23, 2021, Mr. Young emailed the UCO President seeking relief.

The President responded on August 23, 2021 "I just received your message. I will respond

soon." Yet the President did not ever respond further to Mr. Young or anyone on Mr.

Young's behalf in this regard.

      20.      That on August 26, 2021 the Defendant flip-flopped. The original UCO

"closure letter" was "revised". The key revision is shown below, to-wit:

      Original Closure Letter: "Actions have been issued in order to remedy the
      effects of discrimination and/or harassment determined to have occurred."
      (Emphasis added).



                                              5
           Case 5:22-cv-00711-SLP Document 1 Filed 08/18/22 Page 6 of 11



       Revised Closure Letter: "Actions have been issued in order to remedy the
       effects of the lack of boundaries and protocol in communications as
       determined to have occurred." (Emphasis added).

       21.    Defendant UCO's "revised" letter did not represent that any additional

investigation occurred. It did not claim any new evidence was received. The "revised"

letter did not claim any new witness was interviewed.

       22.    Retaliation by the Defendant for Plaintiff exercising his protected activity

continued by the Defendant by further ignoring the Plaintiff's predicament and not

providing Mr. Young any relief. Mr. Young personally contacted staff at the Regional

University System of Oklahoma but was accorded no relief.

       23.    As of June 9, 2022, nearly an entire year later after UCO issued the "closure

letter" and then issued the "revised letter" nearly all of the purported "recommendations"

designed to be curative still had not occurred, to-wit:

       "For Drew Duke

       •      Work with supervisor and the Assistant Vice President of Financial
              Operations in Finance and Operations to clearly define expectations
              and scope of Mr. Young's and Ms. Harper's roles and draw
              boundaries where the controller function ends. (Did not occur). Set
              clear expectations on communications protocols. (Did not occur).

       •      Conduct periodic check-ins with Mr. Young to insure established
              boundaries and protocols are being followed.

       •      Work with the [sic] Mr. Young to identify next steps or areas of
              growth necessary for merit-based increases or promotion. (Did not
              occur).

       •      Conduct a stay interview to help identify what growth is desired and
              how the University can support. (Did not occur).

       For Lisa Harper:
                                              6
           Case 5:22-cv-00711-SLP Document 1 Filed 08/18/22 Page 7 of 11




       •      Participate in leadership coaching to refine communications and
              emotional intelligence. An individual's performance is more than the
              skills and tasks that are central to their job. Soft skills and emotional
              intelligence are essential in leadership roles. This is especially critical
              where the essential job function is to have difficult conversations and
              question or challenge the status quo. (Unsuccessful).

       •      Work with supervisor and the Assistant Vice President of
              Administrative Services in Finance and Operations to clearly define
              expectations and scope of role(s) and draw boundaries where the
              controller function ends. Define and follow expectations on
              communication protocols. (Unsuccessful).

                                         COUNT 1

           TI TLE 7,42 U.S. C. 2OOO(e)-2 (a) UNLA WFUL DISCRIMINATION
                             BASED ON SEX OR GENDER.

       24.    The Plaintiff repeats and realleges and incorporates by reference herein all

facts and every allegation contained in paragraphs 1-23 as fully set out herein.

       25.    Plaintiff at all times herein was a Black male.

       26.    At all times herein Plaintiff was fully performing all job duties and met his

employment expectations. Plaintiff suffered adverse action and discrimination in that

Defendant failed to accord Plaintiff with any relief from discrimination based on sex or

gender.

      27.     As a direct and proximate result of discrimination based on sex/gender

created by Defendant, the Plaintiff incurred damages including but not limited to lost

income, lost enjoyment of life, damaged his professional reputation, mental and emotional

distress, mental anguish and depression.




                                               7
         Case 5:22-cv-00711-SLP Document 1 Filed 08/18/22 Page 8 of 11



                                         COUNT 2

                DEFENDANT SUBJECTED PLAINTIFF TO HOSTILE
                          WORK ENVIRONMENT.

       28.    The Plaintiff repeats and realleges and incorporates by reference herein all

facts and every allegation contained in paragraphs 1-27 as fully set out herein.

       29.    Defendant subjected Plaintiff to a hostile work environment and that hostile

work environment was exacerbated by the cascade of discriminatory and hostile treatment

accorded to the Plaintiff in the workplace. The Defendant created the work environment

for Plaintiff that a reasonable person would find hostile or abusive and one that the Plaintiff

in fact did perceive to be hostile under any objective or subjective evaluation.

       30.    The Plaintiffs workplace was permeated with discriminatory intimidation,

ridicule and insult that was so severe and pervasive that it altered the Plaintiffs condition

of employment.

       31.    The totality of the circumstances and consideration of abusive factors such

as frequency of discriminatory conduct, its severity, its threating or humiliating conduct

that interfered with Plaintiffs work performance is pled above.

       32.    Plaintiff complained several times to different managers and supervisors

about hostile work environment but was not granted any relief.

       33.    Defendant failed to take corrective action on the hostile work environment

raised herein by Plaintiff.

       34.    As a direct and proximate result of the hostile work environment created by

Defendant, Plaintiff incurred damages including but not limited to lost income, loss of


                                              8
            Case 5:22-cv-00711-SLP Document 1 Filed 08/18/22 Page 9 of 11



enjoyment of life, damage to his professional reputation, mental and emotional distress,

mental anguish and depression.

                                         COUNT 3

                    TITLE 7,42 U.S.C. 2000(e)-2(a) UNLAWFUL
                 DISCRIMJNA HON BASED ON NA HONAL ORIGIN
                                  AND COLOR.

       35.     The Plaintiff repeats and realleges and incorporates by reference herein all

facts and every allegation contained in paragraphs 1-34 as fully set out herein.

       36.     The Plaintiff was at all times herein a Black male.

       37.     The Plaintiff suffered adverse employment action in the workplace based on

national origin and color.

       38.     At all times herein Plaintiff was fully performing all job duties and met his

employment expectations.

       39.     As a direct and proximate result of discrimination based on national origin

and color created by the Defendant the Plaintiff incurred damages including but not limited

to lost income, loss of enjoyment of life, damage to his professional reputation, mental and

emotional distress, mental anguish and depression.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff David Young prays that pursuant to legal authority set

forth above the Court grant the following relief, to-wit:

       a.      Order Defendant to compensate Plaintiff with monetary relief in an amount
               in excess of $75,000.00 for damages he suffered, including but not limited
               to, lost income, loss of enjoyment of life, damage to his professional
               reputation, mental and emotional distress, mental anguish and depression.


                                              9
        Case 5:22-cv-00711-SLP Document 1 Filed 08/18/22 Page 10 of 11



      b.      Award Plaintiff all his attorney fees, costs, and additional relief as justice
              may require.

                                JURY TRIAL DEMAND

      Plaintiff hereby demands that trial by jury on all issues so triable pursuant to Rule

38 in the Rules of Civil Procedures and §102 of the Civil Rights Act of 1991, 42 U.S.C.

§1981(a).

                                                 ctfully submitted,


                                          —INVVEL               0         OB7A#3227
                                          Daniel J. Gami & A :ociates, P.C.
                                          Jamestown Office Park, North Building
                                          3035 NW 63 Street, Suite 214
                                          Oklahoma City, OK 73116
                                          Telephone: (405) 840-3741
                                          Facsimile: (405) 840-3744
                                          Email: dgamino@coxinet.net
                                          Attorney for Plaintiff


Verification attached.




                                            10
        Case 5:22-cv-00711-SLP Document 1 Filed 08/18/22 Page 11 of 11




                                       VERIFICATION



STATE OF OKLAHOMA )

COUNTY OF OKLAHOMA



       I, DAVID YOUNG being of lawful age and first duly sworn upon oath, do hereby depose

and state:

       That I have read the above and foregoing instrument and know the contents thereof to be

true and correct to the best of my knowledge and belief.




       Subscribed and sworn to before me this




My Commission expires:
                                                                                DIANA BECK
                                                                   SEAL
                                                                                 Notary Public
                                                                              State of Oklahoma
                                                                Commission # 04003306 Exp: 04/14124




                                                II
